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IN THE UNITED sTATEs DISTRICT CoURT / ~'~'--J‘C-

FoR THE wEsTERN DISTRICT oF TENNEssEE 85 l=€i».‘,' 3 l FH i= 5a

 

WESTERN DIVISION
aaa
""- ll l "*F‘-!. l».‘t':'t,'.em=
MARGIE E. ROBERTSON, ) "
)
Plaintiff, )
)
v. ) Case No. 03 2916 MaV
)
UT MEDICAL GROUP, INC. and )
STEVEN H. BURKETT, )
)
Defendants. )

 

CONSENT ORDER OF DISMISSAL

 

The parties hereto having resolved this matter, agreed that the issues raised by Defendant
which resulted in the August 10, 2004 Order entered in this matter are now moot, and agreed that
the Court should enter an order and judgment dismissing this case with prejudice, it is HEREBY
ORDERED, ADJUDGED AND DECREED that this matter is hereby dismissed With prejudice,

with each party to bear its own costs and attorneys’ fees.

so oRDERED this 3 \S‘lday Of "\:f\ ,2005.

WMW

UNITED STATES DISTRICT JUDGE

 

This document entered on the docket she/jet in cig)mpliance
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Agreed to:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:03-CV-02916 was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

